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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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 The CITY OF NEW YORK, by and through the FDNY,
 and the FDNY FOUNDATION, INC.,

                                        Plaintiffs,                   Civil Action No.

               v.-                                                    22-cv-03190-KAM-PK
 JUAN HENRIQUEZ and MEDICAL SPECIAL
 OPERATIONS COMMUNITY, INC.,

                                        Defendants.
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           PLEASE TAKE NOTICE that Plaintiffs, the CITY OF NEW YORK, by and through the

  FDNY, and the FDNY FOUNDATION, INC., do hereby voluntarily dismiss this action as against

  Defendant Medical Special Operations, Inc. without prejudice pursuant to Fed. R. Civ. P. Rule

  41(a)(l)(A)(i).


  Dated:            New York, New York
                    November 7, 2022

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                                                            Corporation Counsel of the
So Ordered November 11, 2022.                                    City of New York
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